              UNITED STATES DISTRICT COURT
              EASTERN DISTRICT OF WISCONSIN


UNITED STATES OF AMERICA,

                   Plaintiff,

            -vs-                                           Case No. 08-CR-53

SERGIO HERNANDEZ,

                   Defendant.

                       DECISION AND ORDER

      Before the Court is Defendant Sergio Hernandez’s (Hernandez)

motion to reduce his sentence pursuant to 18 U.S.C. § 3582(c), which

allows a court to reduce a sentence if (1) the U.S. Sentencing Commission

(Commission) has lowered the applicable guideline range, and (2) the

reduction is consistent with applicable policy statements issued by the

Commission.

      In Hernandez’s case the first criterion has been met. However,

Hernandez was sentenced to the mandatory minimum of 120 months

imprisonment, and the Commission’s policy statement at USSG § 1B1.10

app. note 1(A) prohibits reduction of a sentence if an amendment “does not

have the effect of lowering the defendant’s applicable guideline range

because of operation of another . . . statutory provision (e.g., a statutory

mandatory minimum term of imprisonment.)” As a matter of law,

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Hernandez’s sentence cannot fall below the statutory minimum, and no

further reduction is allowed. Hernandez fails to meet the second criterion.

Accordingly, his motion must be denied.

      IT IS HEREBY ORDERED THAT:

      Hernandez’s motion to reduce sentence (ECF No. 1653) is DENIED.


      Dated at Milwaukee, Wisconsin, this 20th day of October, 2015.


                                            BY THE COURT:


                                            __________________________
                                            HON. RUDOLPH T. RANDA
                                            U.S. District Judge




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